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                                 United States District Court
                                       EASTERN DISTRICT OF TEXAS
                                           SHERMAN DIVISION

      CRAIG CUNNINGHAM                                 §
                                                       § Civil Action No. 4:18-CV-747
      v.                                               § (Judge Mazzant/Judge Nowak)
                                                       §
      JEFF LAKES, ET AL.                               §

                                ORDER OF DISMISSAL WITH PREJUDICE

             Came on for consideration Plaintiff Craig Cunningham (“Plaintiff”) and Defendants

     Jeffrey Lakes and Ramsey Financial Services, LLC’s (collectively, “Defendants”) joint

     “Stipulation for Dismissal of Action with Prejudice,” wherein the Parties stipulate to the dismissal

     of Plaintiff’s case, and all claims alleged against Defendants, with prejudice (Dkt. #53). The Court,

     having considered the Motion, determines that the Motion should be GRANTED. It is therefore

             ORDERED, ADJUDGED, AND DECREED that all claims Plaintiff asserted, or could

     have asserted, against Defendants in this lawsuit are hereby DISMISSED WITH PREJUDICE.

     It is further,

.            ORDERED, ADJUDGED, AND DECREED that each Party shall bear his or its own

     costs and attorney fees.

             All relief not previously granted is hereby DENIED.

             The Clerk is directed to CLOSE this civil action.
             SIGNED this 3rd day of July, 2019.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
